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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND

        CHAMBERS OF                                                      101 WEST LOMBARD STREET
  STEPHANIE A. GALLAGHER                                                BALTIMORE, MARYLAND 21201
UNITED STATES DISTRICT JUDGE                                                   (410) 962-7780
                                                                     MDD_SAGchambers@mdd.uscourts.gov




                                                     September 9, 2021

  LETTER ORDER

          Re: Carrasco v. M&T Bank
              Civil Case No. SAG-21-532

  Dear Mr. Carrasco and Counsel:

         A series of emails has been received in chambers, which is an inappropriate way of
  communicating with the Court as to the substance of the case. The emails will be disregarded. As
  previously ordered, the Court will only consider items appropriately docketed as a motion,
  opposition, or reply, and will not review unrelated filings. This Court will address the pending
  motions in this case when all of the motions that have been filed are fully ripe, to include
  oppositions and replies.

                                                     Sincerely yours,

                                                             /s/

                                                     Stephanie A. Gallagher
                                                     United States District Judge
